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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

Case No. 5:20-cv-01250-AFM                                             Date: October 12, 2021
Title      Catherine Sandberg v. Kilolo Kijakazi



Present: The Honorable:       ALEXANDER F. MacKINNON, U.S. Magistrate Judge
                  Ilene Bernal                                             N/A
                  Deputy Clerk                                    Court Reporter / Recorder

          Attorneys Present for Plaintiff:                    Attorneys Present for Defendant:
                       N/A                                                  N/A

Proceedings (In Chambers): ORDER TO SHOW CAUSE

        Pursuant to the parties’ Joint Stipulation for Extension of Time (ECF No. 22), order granting
extension of time (ECF No. 24), and supplemental order extending time for Defendant to file her
Memorandum in Support of Answer (ECF No. 25), Defendant’s Memorandum in Support of Answer
was due on October 7, 2021. The docket shows that, as late as the date of this Order, Defendant has
not filed the Memorandum in Support Defendant’s Answer. Defendant has failed to comply with the
Court’s Order.

        Accordingly, IT IS ORDERED that within 20 days of the filing date of this Order, Defendant
shall show cause in writing why judgment should not be entered in favor of Plaintiff. The filing of
the Memorandum in Support of Defendant’s Answer within 20 days shall discharge the order to
show cause and all other deadlines required by the Case Management Order will be extended
accordingly.

      Additionally, Defendant shall include in her Memorandum a response to the New Authority
(ECF Nos. 23, 26) and how it should affect the Court’s consideration of this case.

        IT IS SO ORDERED.




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                                                                    Initials of Preparer           ib




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